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                                         UNITED STATES DISTRICT COURT
                                             DISTRICT OF NEW JERSEY
           UNITED STATES OF AMERICA                           :       Hon. Douglas E. Arpert

                                                                      Mag No. 12-2574 (DBA)
          JOSEPH A. GIORGIANNI,
           a/k/a “Job,”
          MARY MANFKEDO,
          ANTHONY DIMATrEO,
          RALPH DIMATTEO, SR.,
          GIUSEPPE SCORDATO,
           a/k/a “Joe,”
           a/k/a “key,”
          CAROL KOIJNITZ,
          STEPHANIE LIMA,                                            CONTINUANCE ORDER
          MARK BETHEA, and
          EUGENE BROWN,
           a/k/a “Raheem”


                         This matter having come before the Court on the joint application of Paul 3.

          Fishman, United States Attorney for the Disliict of New Jersey (by Eric W, Moran
                                                                                           and Matthe        w
          J. Skahill, Assistant U.S. Attorneys), and the above captioned defendants through
                                                                                               their attorneys,
          for an order granting a continuance of the proceedings in the above-captioned matter
                                                                                                   so that the
          defendants will have additional time to consult with counsel, to review and consid
                                                                                               er pre
          indictment discovery made available or to be made available by the Government,
                                                                                         and to
          otherwise explore, or finalize, possible pre-indictrnen; resolutions; and each defendant
                                                                                                   being
          aware that he or she has the right to have the matter submitted to a grand jury within
                                                                                                   thirty days
          of the date of his or her initial appearance pursuant to Title I 8 United States Code, Section

          3161(b); and each defendant, whose attorney has signed below, having consented to the

          continuance and waived such right; and this being the third continuance sought by the parties,

          and for good cause shown;
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                           iT IS THE FINDING OF THIS COURT that this action should be continued for

            the following reasons:

                           (1) Each defendant, whose attorney has signed below) through his or her counsel,

           has requested additional time to consult with counsel, to review and consider pre-indietment

           discovery made available or to be made available by the Government, and to otherwise explore,

           or finalize, possible preindictment resolutions;

                          (2) The United States and the defendant have jointly represented that the parties

           desire additional time to discuss or finalize a pre-indictment resolution to this matter, which

           would render any subsequent trial of this matter unnecessary; and

                          (3) Pursuant to Title 18, United States Code, Section 3 161(h)(7), the ends of

           justice served by granting the continuance outweigh the best interest of the public and the

           defendant in a speedy trial.
                                                    ‘,ci
                          IT IS, therefore, on this ±L day of January, 2013.

                          ORDERED that this action be, and it hereby is, continued from January 29, 2013

           through and including February 28, 2013; and it is firther

                          ORDERED that the period from January 29,2013 through and including
                                                                                                     February
           28, 2013 shaH be excludable in computing time under the Speedy Trial
                                                                                    Act of 1974.


                                                                        —f   J-   41
                                                              HON DOUGLAS E AR2ERT
                                                              United States Magistrate Judge
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           Eric   .Morar// “\
           Matthew 1. Skill
           Assistant U.S. Attorneys


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        /41’me Aa1larotto, sq.
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           Anthony onefi, Esq.
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          Counsel for Ralph Dimattco




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          Counsel for Giuseppe Seordato



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          Counsel for Carol Kouniiz
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             Fonu and eny
             consented to:



             Eric W. Moran
             Matthew 1. Skahill
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            3erome A. Ilarotto, sq.     —




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            T
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                                     h
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           Counsel for Giuseppe Scordato




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          Counsel for Carol Kounitz
       Case 3:12-mj-02574-DEA             Document 76   Filed 01/29/13    Page 5 of 10 PageID: 199
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           Form and entry
           consented to;



           Eric W. Moran
           Matthew J. Skahill
           Assistant U.S. Attoieys




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          Counsel for Ralph Dimatteo




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         Counsel for Carol Kounitz
       Case 3:12-mj-02574-DEA            Document 76       Filed 01/29/13    Page 6 of 10 PageID: 200
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            Form and cntiy
            consented :



            ErfcW Moran
            1
            Matthew J Skuhifi
            Aesistaxit U.S. Attorneys




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            eoui,sel for delbndent Josepb A. Glorianni




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           Counsel for Mary Men*edo




           dwerd CL Wahabume, Esq.
           Counsel ,r Anthony Dimstteo



           bstrea M. Gelber, Esq.
           Counsel fo Ratpb Dlmatteo




              tt    Siiy,
           Counse’ for Gttfeppc Scordato




           Counsel for Carol Kowii
       Case 3:12-mj-02574-DEA               Document 76   Filed 01/29/13     Page 7 of 10 PageID: 201
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           0 Kiasziy, Esq.
           i
            Counsel for Oluseppe Scord



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                     , Esq
           Couns fd/Carol Kounlrz
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             PsuiW Norris, EZq
             Counsel ft,r Stephanie Liina


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             Kim Augustus Otis Esq. do H& KJIavsozi,E
             Counsel for Mark etbea




             Bru Throckmorton, Eq.
             Counsel for £ugu Brown
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               PuI W, Norris, &q
               Coune1 (or Stephanie l4ine




               *Jm Augustus Otls Bsq/o Hal X Haveon, Bsq.
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              Snice Thruokmoito, Esq.
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